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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN


ELECTION INTEGRITY FUND,
LINDA LEE TARVER,
KIRKLYN VALENTINE, and
JIM MIRAGLIA,                                               Case No. 1:20-cv-00950

                      Plaintiffs,                           Honorable Paul L. Mahoney
v.                                                          Magistrate Judge Ray Kent

CITY OF LANSING and CITY OF FLINT,

              Defendants.


      STIPULATED ORDER EXTENDING DEFENDANTS’ DEADLINE TO FILE
            RESPONSIVE PLEADINGS TO PLAINTIFFS’ AMENDED
          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       This matter coming before the Court by the stipulation of the Plaintiffs and the Defendants

(collectively, “Parties”), through their undersigned counsel; the Parties having stipulated and

agreed that the time for Defendants to file their responsive pleadings to Plaintiffs’ amended

complaint for declaratory and injunctive relief should be extended to December 4, 2020; and the

Court being otherwise fully advised in the premises;

       IT IS HEREBY ORDERED THAT the deadline for Defendants to file responsive

pleadings to Plaintiffs’ amended complaint for declaratory and injunctive relief is extended to

December 4, 2020.

       SO ORDERED.



        November 10, 2020
Date: ________________                 /s/ Paul L. Maloney
                                     __________________________________
                                     HON. PAUL L. MALONEY
                                     U.S. District Court Judge
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STIPULATED:


 By:/s/”with consent” Erick G. Kaardal       By: /s/Christopher M. Trebilcock
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Date: November 10, 2020




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